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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

  MALEEHA AHMAD, et al.,                                 )
                                                         )
          Plaintiffs,                                    )
                                                         ) Case No. 4:17-CV-2455-MTS
  v.                                                     )
                                                         )
  CITY OF ST. LOUIS,                                     )
                                                         )
          Defendant.                                     )
                                                         )

       JOINT MOTION FOR APPROVAL OF CONSENT SETTLEMENT DECREE

          Plaintiffs and defendant hereby respectfully move the Court to enter the proposed

  consent judgment appended hereto. In support, the parties state that, after negotiations,

  the parties have agreed that the proposed consent judgment is fair and reasonable and in

  the best interests of all parties and of the public.

          WHEREFORE, the parties respectfully request that the Court enter the proposed

  consent judgment presented herewith.

                                                  Respectfully submitted,

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